Case 1:14-cv-24887-LFL Document 301 Entered on FLSD Docket 11/30/2018 Page 1 of 5



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                             CASE NO. 14-24887-MC-SEITZ/ LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
                                /

                    SUBPOENA RESPONDENTS’ UNOPPOSED MOTION
                      TO FILE COMPOSITE EXHIBIT UNDER SEAL

         Subpoena Respondents, CC Metals and Alloys, LLC, Felman Production, LLC, Felman

  Trading, Inc., Georgian American Alloys, Inc., Mordechai Korf, Optima Acquisitions, LLC,

  Optima Group, LLC, Optima Fixed Income, LLC, Optima Ventures, LLC, Optima International

  of Miami, Inc., and 5251 36ST, LLC (“Subpoena Respondents”), pursuant to the Stipulated

  Protective Order [DE 224] and Southern District of Florida Local Rule 5.4(a)-(b), move unopposed

  for entry of an order permitting Subpoena Respondents to file Composite Exhibit A to

  Subpoena Respondents’ and Intervenors’ Consolidated Motion for Entry of an Order Requiring

  Hornbeam Corporation to Provide Subpoena Respondents Certifications of Recipients of

  Confidential Information and for an Order Setting a Final Discovery Cutoff Date of December

  18, 2018 (“Consolidated Motion”) under seal and in support thereof state:

                                        MEMORANDUM

         1.     On July 12, 2018, the Court entered the Stipulated Protective Order. See [DE

  224]. The Stipulated Protective Order provides that Subpoena Respondents may designate

  documents as “Attorneys’ Eyes Only” (“AEO”) or “Confidential Information.” Id. at 2-5. The

  Stipulated Protective Order further provides that if a party wishes to use information designated
Case 1:14-cv-24887-LFL Document 301 Entered on FLSD Docket 11/30/2018 Page 2 of 5



  as AEO or Confidential Information in this proceeding, the party “shall apply to the Court for

  permission to file a document containing information designated as Confidential or Attorneys' Eyes

  Only under seal . . . and shall comply with the relevant rules concerning the filing of sealed or non-

  public documents, unless otherwise directed by the Court.” Id. at 7-8. Under this Court’s Local

  Rules, a party who wishes to file a document under seal must file a motion to file under seal.

  Southern District of Florida Local Rule 5.4(b).

         2.      Consistent with the terms of the Stipulated Protective Order, all depositions are

  designated as “Confidential Information,” and select parts as “AEO.”

         3.      Composite Exhibit A to the Consolidated Motion contains excerpts of deposition

  transcripts of depositions that took place on March 23, March 24, and March 25, 2018, in order

  present the Court relevant information regarding discussions between counsel for Hornbeam

  Corporation (“Hornbeam”) and the undersigned on the issue of “Certifications” (as defined in the

  Consolidated Motion and this Court’s Order, dated October 24, 2018 [DE 286]).

         4.      Accordingly, Subpoena Respondents respectfully request that this Court allow

  Subpoena Respondents to file Composite Exhibit A under seal.

         5.      Prior to filing this Motion, counsel for Subpoena Respondents consulted with

  counsel for Hornbeam, counsel for Panikos Symeou and Halliwel Assets, Inc. (“Intervenors”),

  and counsel for Specialty Steel Works Incorporated f/k/a Optima Specialty Steel, Inc. regarding

  the filing of this motion and is authorized to represent that all the above-referenced counsel do

  not object to relief sought herein.

                                            CONCLUSION

         Good cause having been shown, the Court should grant Subpoena Respondents’ request

  to file under seal Composite Exhibit A to the Consolidated Motion. The sealed Composite

  Exhibit should remain under seal until the conclusion of this action, including any appeals, at


                                                    2
Case 1:14-cv-24887-LFL Document 301 Entered on FLSD Docket 11/30/2018 Page 3 of 5



  which time the Court should return it to the undersigned counsel. Subpoena Respondents submit

  the attached order as a proposed form.

               CERTIFICATE OF CONFERENCE PURSUANT TO S.D. FLA. L.R. 7.1

         I HEREBY CERTIFY that on November 29, 2018, the undersigned conferred with

  counsel for Hornbeam, counsel for Intervenors, and counsel for Specialty Steel Works

  Incorporated f/k/a Optima Specialty Steel, Inc., regarding the substance and relief sought by this

  motion in a good-faith attempt at resolving the issues raised herein, and all the above-referenced

  counsel represented that they do not oppose to the relief requested herein.

                                               Respectfully submitted,

                                               GUNSTER
                                               Attorneys for Respondents
                                               Counsel for CC Metals and Alloys, LLC;
                                               Felman Production, LLC;
                                               Felman Trading, Inc.;
                                               Georgian American Alloys, Inc.;
                                               Mordechai Korf;
                                               Optima Acquisitions, LLC;
                                               Optima Group, LLC;
                                               Optima Fixed Income, LLC;
                                               Optima Ventures, LLC;
                                               Optima International of Miami, Inc.; and
                                               5251 36ST, LLC
                                               600 Brickell Avenue, Suite 3500
                                               Miami, Florida 33131
                                               Telephone: (305) 376-6000
                                               Facsimile: (305) 376-6010

                                               By:     /s/ Jorge D. Guttman
                                                       William K. Hill, Esq.
                                                       Florida Bar No. 747180
                                                       whill@gunster.com
                                                       Jorge D. Guttman, Esq.
                                                       Florida Bar No. 015319
                                                       jguttman@gunster.com
                                                       Joshua A. Levine, Esq.
                                                       Florida Bar No. 106072
                                                       jlevine@gunster.com



                                                   3
Case 1:14-cv-24887-LFL Document 301 Entered on FLSD Docket 11/30/2018 Page 4 of 5



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 30, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record identified on the attached Service List in the

  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

  or in some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.

                                                 By: /s/ Joshua A. Levine
                                                        Joshua A. Levine




                                                    4
Case 1:14-cv-24887-LFL Document 301 Entered on FLSD Docket 11/30/2018 Page 5 of 5



                                            SERVICE LIST


  Edward Maurice Mullins                             Carol Elder Bruce [admitted pro hac vice]
  emullins@reedsmith.com                             cbruce@mmlawus.com
  Sujey Scarlett Herrera                             MURPHY & MCGONIGLE
  sherrera@reedsmith.com                             Robert P. Howard, Jr. [admitted pro hac
  REED SMITH LLP                                     vice]
  Counsel for Intervenors, Halliwel Assets,          rhoward@mmlawus.com
  Inc., Panikos Symeou, AND Igor                     Alexandra Marinzel [admitted pro hac vice]
  Kolomoisky                                         alexandra.marinzel@mmlawus.com
  1001 Brickell Bay Drive                            Counsel for Applicant Hornbeam Corp.
  9th Floor                                          and Intervenors Bracha Foundation and
  Miami, FL 33131-2847                               Vadim Shulman
  Tel: (786) 747-0200                                1001 G Street, N.W.
  Fax: (786) 747-0299                                Seventh Floor
                                                     Washington, DC 20001
                                                     Tel: (202) 220-1924
  Thomas Sullivan [admitted pro hac vice]
  Tsullivan@mslegal.com
  Bruce Marks [admitted pro hac vice]                James K. Goldfarb [admitted pro hac vice]
  marks@mslegal.com                                  jgoldfarb@mmlawus.com
  MARKS & SOKOLOV, LLC                               MURPHY & MCGONIGLE
  Counsel for Intervenors, Igor Kolomoisky,          1185 Avenue of the Americas, 21st Fl
  Halliwel Assts, Inc., Panikos Symeou,              New York, NY 10036
  Warren Steel Holdings, LLC, and Gennadiy           Tel: (212) 880-3961
  Bogolyubov
  1835 Market Street, 17th Floor
  Philadelphia, PA 19103                             Jane Wollner Moscowitz
  Tel: (215) 569-8901                                jmoscowitz@moscowitz.com
  Fax: (215) 569-8912                                MOSCOWITZ & MOSCOWITZ, P.A.
                                                     201 Alhambra Circle
                                                     Suite 1200
  Andrew R. Kruppa, Esq.                             Coral Gables, FL 33134
  Florida Bar No. 63958                              Tel: 305-379-6700
  Andrew.kruppa@squirepb.com
  Squire Patton Boggs (US) LLP
  Counsel for Respondent, Specialty Steel
  Works Incorporated
  f/k/a Optima Specialty Steel, Inc.
  200 South Biscayne Blvd., Suite 4700
  Miami, FL 33131
  Tel: (305) 577-7712



  MIA_ACTIVE 4814398.1



                                                 5
